
PER CURIAM.
| denied. Relator fails to show he received ineffective assistance of counsel under the standard of Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). The non-unanimous jury verdict does not violate due process. See Johnson v. Louisiana, 406 U.S. 356, 357, 92 S.Ct. 1620, 1622, 32 L.Ed.2d 152 (1972); State v. Bertrand, 08-2215, p. 7 (La.3/17/09), 6 So.3d 738, 742. Relator’s sentencing claim is not cognizable on collateral review. See La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
Similar to federal habeas relief, see 28 U.S.C. §. 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided in La. C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in state collateral proceedings in accordance with La.C.Cr.P. art. 930.6 and the denial of relief has become final. Hereafter, unless relator can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review.
